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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   FAUN O’NEEL, individually and as         No. 2:21-cv-02403 WBS DB
     Guardian Ad Litem for her
13   children B.T., A.O., D.O., and
     A.T.,
14                                            ORDER RE: BILLS OF COSTS
                   Plaintiffs,
15
          v.
16
     CITY OF FOLSOM, a public entity;
17   SPENSER HEICHLINGER, an
     individual; MELANIE CATANIO, an
18   individual; LOU WRIGHT, an
     individual; DOE CITY OF FOLSOM
19   DEFENDANTS, individuals; KERYN
     STARKS, an individual; SASHA
20   SMITH, an individual; COUNTY OF
     SACRAMENTO, a public entity; DOE
21   DCFAS DEFENDANTS, individuals;
     and DOES 1 through 10,
22   inclusive,

23                 Defendants.

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26              The court granted summary judgment in favor of

27   defendants County of Sacramento, Sasha Smith, and Keryn Starkes

28   on April 18, 2024.     (Docket No. 110.)     Judgment for those
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1    defendants was entered on May 17, 2024.        (Docket No. 114.)

2    Defendants subsequently submitted two bills of costs: one for the

3    County and Smith (Docket No. 115) and one for Starkes (Docket No.

4    116).

5               The County and Smith claim itemized costs of $611.85

6    for service fees, $580 for witness fees, and $18,386.25 for

7    printed or electronically recorded transcripts necessarily

8    obtained for use in the case, for a total bill of $19,578.10.

9    (Docket No. 115.)

10              Starkes claims total itemized costs of $8,522.25 for

11   printed or electronically recorded transcripts necessarily

12   obtained for use in the case.      (Docket No. 116.)

13              Plaintiffs have not objected to the bills of costs and

14   the time to do so has passed.      See L.R. 292(c).     In light of

15   their lack of objection, costs of $28,1000.35 will be taxed to

16   plaintiffs.

17              Pursuant to Local Rule 292(e), plaintiffs may file a

18   motion for review of the taxing of all or any part of these costs

19   within seven days of the date of this Order.         If no such motion

20   is filed, this Order will stand as final.
21              IT IS SO ORDERED.

22   Dated:   June 20, 2024

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